 

'\/\nrc l é‘_ Anr\ G€‘l~mmf\

\OO Mcai\uncél PO 501 1351

§Ng$i M“.oe,;.;{ 53 geojgg
(Enter above the filllname of the Plaintii`l‘(s)

VS.

Cn\\ `@r‘nc‘"¢= r1 Fru¢‘m"-`,

Name

‘3"%'¥ N, Fa§'i' A\!e
Streetandnumber

Og\um\;`us KS tpL.-¢’TJ';T

city

Case 2:07-CV-02256-.]AR Documentl FilediO€/lS/O? Pagelof€

gl l" -
§_I,.j`
rif g

lN TH:E UNlTED sTATEs msch CoURT G? v!*JI'-! l 3 P?i 11= 1 0
FoR THE msch oF KANSAS 7

 

ease Number:_<LZ§ié_¢#°'*<

g\/VV`/\_/\-/\,/\_/V\-/\_/VV\-/`»/

State Zip Code

(`Enter above the 11111 name and address of the
Defendant in this action - list the name and address
of any additional defendants on the back side of
this sheet).

CIV[L COMPLAINT PURSUANT TO
TITLE VII OF THE
CIVIL RIGHTS ACT OF 1964
or
29 U.s.c. § 621-634(b)

(Age Discrimination in Employment Act)

or
42 U.S.C. § 12111 et seq.
(Americans With Disabih'ties Act)

Mark the statute that you are E]jng this complaint under:
Title V]I of the Civil Rights Act of 1964.
29 U.S.C. § 621-634 (b) (Age Discn'mination in Employment Act)

§ 42 U.S.C. § 12111 et. seq. (Americans With Disabiljties Act)

l

 

 

ease 2:07-cv-02256-JAR Documem 1 lined 06/13/07 Page 2 of 6

1. Plaintiff resides at:

 

 

2. Defendant employer(s) reside or can be served with process at the addresses set forth
in the caption above.

3. This Action is brought for employment discrimination, pursuant to one or both of the

following laws:

a. Tit]e V]I of the Civil Rights Act of 1964 for employment discrimination

b. Age Discrimination in Employment Act of 1967, codified at 29 U.S.C.
§ 621-634(b), as amended, for employment discrimination based on
age;

c. x Americans With Disabilities Act, codified at 42 U.S.C. § 12111 et.
seq., for employment discrimination based on disability.

Jurisdiction is conferred on this court pursuant to 29 U.S.C. § 626(c)(l), 42 U.S.C. § 2000e-5, or 42
U.S.C. § 12117. lfthe plaintiff is a federal employee, jurisdiction is confened on this court pursuant to
29 U.S.C. § 633a(c).

4. Venue is invoked pursuant to 28 U.S.C. § 1391.

5. Defendant’s conduct is discriminatory with respect to the following:

 

 

 

a. H_ My race or color, which is

b. __H_”_ My rcligion, which is

c. __m My sex, Which is _ male; _ female
d. __ My national origin, Which is

e. __ My age, in violation of 29 U.S.C. § 623.

f § My disability or perceived disability, which is 5 g `, z ,' l fe 5 .

g Other as specified below:

 

 

 

Case 2:07-CV-02256-.]AR Document 1 Filed 06/13/07 Page 3 of 6

10.

'Ihe plaintiff is an employee within the meaning of the above-cited statutes
lfthis is an age discrimination case, the plaide states the following:

a. Plaintiff is within the age limits as prescribed by 29 U.S.C. § 63l(a).
b. My age at the time of the alleged discriminatory conduct Was

c. My year of birth is

 

The defendant(s) is (are) an employer, employment agency, or labor organih‘nion within
the meaning of 28 U.S.C. § 1343 and 29 U.S. C § 630(b)(c) and (d).

The defendant(s) is (are) engaged in commerce within the meaning of the above-cited
SlBttheS.

The conduct complained of in this action concern:
a. F ailure to employ

b. X Terminalion of employment

c. _ Failure to promote

d. _ Unequal terms and conditions of employment
e. _ Reduction in wages

f _ Retaliation

g. ')§ F ailure to accommodate disability

h. Other acts as specified below:

 

 

 

 

 

 

ease 2:07-cv-02256-JAR Documem 1 Filed 06/13/€? m'F>age 4 of 6

ll.

12.

13.

14.

lS.

16.

17.

18.

19.

20.

Thefactss\nroimding my claim of discrimination are:

I tries --i'r=rm`i./\a_~\-¢=_A hamqu irc m\,i eei~zi_ire_c, 1 farms
-l-DiA tin/it I ¢»in,.l miami +0 mark art m\_|r qam.<»_di.sl;, 1 Far,r
ii T M.i,i tama a amici nmi maria ZMMML¢¢ Oa\: lowest

\Hnmi- T \.\ini\i id order if\o.\m nno-iim»{ Sci cure a~\' \i.ini'i< _S€_C cx+i`Q¢;i'\cCi Co(>\€$
(Ifmore spaceisneededyou may attach additionai sheets of 8‘/2”X 11" p.aper)

The alleged discriminatory conduct occurred on or about 03 [§Q[ o ‘;1

at Ca\`iibrocicci\ FOFN\S

ln accordance with 42 U.S.C. § 2000e-5, 29 U.S.C.§ 626(d) and 29 U.S.C. §
633(b), or 42 U.S.C. § 12117, more than sixty (60) days have elapsed since Eling a
charge alleging unlawful discrimination with the Kansas State Division of Hunian Rights,
the Kansas Comrnission on Human Rights or the Equal Employment Opporturiity .
Cornmission,

ln accordance with 23 U.S.C. § 1343 or 29 U.S.C. § 633a(d), of this is an Age
Discrimination action, a thirty (30) day Notice of Intent to File this action has been
given to the Equal Enrployment Opportnnity Commission.

I tiled charges with the Kansas State Division of Huinan Rights or the Kansas State
Commission on Human Rights regarding the alleged discriminatory act on

 

1 filed charges with the Equal Employment Oppoitunity Comniission regarding the
alleged discriminatory act on ; i,/\ 310 rs .

 

1 fled a Notice of Intent with the Equal Employment Opportunity Commission on

 

The Equal Einployinent Opportunity Commission issued a Notice of Right to Sue letter
(copy attached) which was received by me on or about g 3 g g l ZQ] .

If relief is not granted, plaintiff will be irreparably denied the rights secured by the Age
Discrimination` in Employment Act of 1967, as amended, by Title VII of the 1964 Civil
Rights Act, as amended, or by the Americans With Disabi]ity Act.

Plai`ntiff demands trial by jury. Yes_X_ No _

 

ease 2:07-cv-02256-JAR Documem 1 Filed 06/13/07 sage 5 of 6

WHEREFORE, plaintiff prays that

a. The court grant the relief stated in 42 U.S.C. § 2000e-5, 29 U.S.C. § 633a(c),
or 42 U.S.C. § 12117, including damages in the amount of

$ ZQQ Qc)o,QQ .

b. The court grant such other legal or equitable relief as the court deems just and
proper, including attomey’s fees and costs.

Signature of Plaintiff

MQ,;Q `g é,gg' §§ giban
Name(PrintorType

100 Mc(ilunn; Pi’) BO)L 1361
Address

gregg M,'nmi gs omni
city saw zipcode

Ce:,@ sai-cam
Telephone Number

RES!GHAIIQN_QE_BLMBLAL

PlaintiE designates f Wichil - or To!cka ), Kansas as the location for the

(ciicle one location)

Signatnre of Plaimiii`

tiialinthismatter.

REQ[JE§T FOR TRIAL BY ,!!] §Y

PlaintiH`requcststrialbyjurer or no .
(circle one) .
Signatnre ofPlaintiff
Dated: Q£‘z[i 5 £;27
(Rev. 9/04)

Case 2:07-CV-02256-.]AR Document 1 Filed 0_6/13/07 Page 6 of 6

eEoc Farm tamiami - ' ` U;S. EQUAL EMPLQYMENT :oPPQRiFgNlW'_€cDMM‘s_SIQN n

 

 
    
  

 

e;es,»clty-Ama;pf_ri¢¢
_1`ay'@T©wer»il." ~
_-_faf€`rAvdn.ua- ;- -

`_ __-"saer-Ci`t'y-,_=_Ks#‘-as_tei

To: M'arcla Ge`it_mah'
PO`._Bo_x139 '
W`est Ml'neral, KS 66182 `

 

- On' behalf of person_(_s__) aggrieved whose identity is
CONF!DENTTAL (29 CF3 §1601. 7(a))

EEo'c chargeno. " ' ` EEoc nepreseniaove . ': ' ` Talepho`ne No.
' ' _ . Ri_ch'ard Thomas,'.lnvestlgator - _
231-2005-04334 `_ _ ' `_ _ _ _ - ' ._ _ _ -- . :(_913)551-6647

TO THE PERS_ON_. AGGR|EVED `- '

     
 
    
  
 
 
 

against the Respondent at this time!based en th charge an
is certifying that the R`espo_ndeh _ `n compliance with the lan
|ater` in your lawsuit if you decide t_ ,su__ej oh your own behalf

 

la dale __t_he Age Discrlmlnat¥on».i Employment _Act: Thls will be the only
e__ a awsuit against ing respondent(s) under

 

 

Enclosure,s(s) (Date_ Mailed}

cc' ENNIS_
2441 Pres'|dentlal Pan¢way_
Ml`dlethlan_, -TX 7-’.60`65 t

 

